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                        ADMISSIONS

            POLICIES & PROCEDURES

    JOHN SEALY SCHOOL OF MEDICINE




  THE UNIVERSITY OF TEXAS MEDICAL BRANCH

                       Galveston, Texas


                            Revised 9/27/2022




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and state and local requirements regarding students and applicants with disabilities.
Under these laws, no qualified individual with a disability shall be denied access to or
participation in services, programs, and activities of UTMB-Galveston, solely on the basis
of the disability.

                                  Diversity Categories


In accordance with the University of Texas Medical Branch Vision, Mission, Values
Statement, the John Sealy School of Medicine Admissions Committee is committed to
"educating and inspiring skilled physicians and scientists who are dedicated to lifelong
learning and reflect the diversity of the people who we serve." Therefore, the AC will
intentionally recruit and select a class whose racial and socioeconomic demographics
are representative of Texas residents. Utilizing a holistic approach, the committee will
seek to admit qualified underrepresented in medicine (URM) and economically
disadvantaged applicants. Based on the ethnographic and socioeconomic makeup of
the Houston-Galveston Metropolitan Area, the John Sealy School of Medicine
Admissions Committee will support pipeline programs and partnerships explicitly
focused on increasing Black/African American, Hispanic/Latino, and economically
disadvantaged applicants' matriculation to medical school.

Any applicant whose TMDSAS application Race or Ethnicity is American Indian, Alaska
Native, Black, African American, Hispanic, Latino, Hawaiian, or Pacific Islander will be
classified as a URM per TMDSAS. Any applicant designated as Disadvantaged A or B
on their TMDSAS application will be deemed economically disadvantaged. The
designations are based on parental education level and income, household size,
residential asset value and descriptors of the applicant's hometown (rural, inner city).



                       Technical Standards/Essential Functions

All accepted applicants must meet the minimum required technical standards and
essential functions. All accepted applicants must electronically sign this document thru
the mySTAR portal. If accepted applicants have a documented disability or would like to
obtain information regarding services for students with disabilities at UTMB, they may
contact the Institutional ADA Officer.

                               Holistic Admissions Policy

Utilizing holistic admissions practices, committee members must consider aspects such
as the recommendation of the health professions advisor or advisory committee,
personal attributes, academic profile, undergraduate coursework, grades, and MCAT
scores. Academic and non-academic factors are of equal importance. Particular
consideration is given to the applicant’s maturity, motivation, and intellectual curiosity as




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